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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                             :

                        Plaintiff,                    :

       vs.                                            :              Case No. 1:21CR080

TONI WRIGHT,                                          :              Judge McFarland

                        Defendant.                    :

                           MOTION TO CONTINUE SENTENCING

       Now comes the Defendant, TONI WRIGHT, by and through counsel, and hereby moves

the Court to continue the sentencing in this matter until October 2022.

       By agreement of the parties, additional time is needed prior to the sentencing in this matter.

As such, the government and defense request that the sentencing be continued until approximately

October of this year.

       Counsel for Ms. Wright has consulted with Ebun Taiwo, Assistant United States Attorney,

and she is in agreement with this motion.

       Wherefore, Ms. Wright respectfully requests that the Court continue the sentencing until

October 2022.

                                      Respectfully submitted,

                                      DEBORAH WILLIAMS
                                      FEDERAL PUBLIC DEFENDER

                                      s/ Richard Monahan
                                      Richard Monahan (0065648)
                                      First Assistant Federal Public Defender
                                      250 E. 5th Street, Suite 350
                                      Cincinnati, Ohio 45202
                                      (513) 929-4834
                                      Attorney for Defendant, Toni Wright
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was served upon Ebun Taiwo, Assistant United
States Attorney, on this 26th day of April, 2022.

                                     s/ Richard Monahan
                                     Richard Monahan




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